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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA



RONNIE MAURICE STEWART, et al.,

               Plaintiffs,
                                                      Civil Action No. 1:18-cv-152 (JEB)
   v.


ALEX M. AZAR II, et al.,

               Defendants.


    JOINT MOTION TO STRIKE AND VACATE ENTRY OF FINAL JUDGMENT

        Plaintiffs Ronnie Maurice Stewart, et al., federal defendants Alex M. Azar, et al., and

intervenor-defendant the Commonwealth of Kentucky (collectively, the “parties”), hereby move

under Federal Rule of Civil Procedure 60(b)(6) to strike subsection (4) from the Court’s June 29, 2018

Order entering judgment in favor of Plaintiffs. Subsections (1) through (3) of the Order would remain

unchanged. See ECF No. 73. In support of this motion, the parties state as follows:

   1. On June 29, 2018, the Court issued a four-part Order that (1) granted plaintiffs’ motion for

        summary judgment, (2) denied defendants’ cross-motions for summary judgment, (3) vacated

        and remanded the Secretary of Health and Human Services’s approval of Kentucky HEALTH,

        and (4) entered final judgment. Order, ECF No. 73.

   2. The order was accompanied by a memorandum opinion, in which the Court adjudicated

        Count VIII of plaintiffs’ nine-count Complaint. Mem. Op. at 58, ECF No. 74 (granting

        plaintiffs’ summary-judgment motion “via Count VIII.”). The Court concluded that it “need

        adjudicate only one count of Plaintiffs’ Complaint to grant them full relief: Count VIII, which

        challenges the Secretary’s approval of Kentucky HEALTH as a whole.” Mem. Op., at 15. The



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    Court did not dismiss the rest of plaintiffs’ claims before entering final judgment.

3. Rule 60(b)(6) allows the Court to relieve the parties from a final judgment for “any . . . reason

    that justifies relief.” Fed. R. Civ. P. 60(b)(6). “The rule ‘grants federal courts broad authority

    to relieve a party from a final judgment upon such terms as are just, provided that the motion

    is made within a reasonable time and is not premised on one of the grounds for relief

    enumerated in (b)(1) through (b)(5).’” Bowyer v. District of Columbia, 779 F. Supp. 2d 159, 162

    (D.D.C. 2011) (quoting Liljeberg v. Health Servs. Acquisition Corp., 486 U.S. 846, 863 (1988)). Rule

    60(b)(6) should be “sparingly used.” Kramer v. Gates, 481 F.3d 788, 792 (D.C. Cir. 2007).

4. Plaintiffs’ Complaint included statutory and constitutional claims. Plaintiffs moved for

    summary judgment on the statutory claims, but not the constitutional claim. ECF 33. The

    court expressly refrained from deciding the constitutional claim. ECF 74. It is plaintiffs'

    position that this court retains jurisdiction over this case. See Fed. R. Civ. P. 54(b) (“any order

    or other decision, however designated, that adjudicates fewer than all the claims . . . does not

    end the action as to any of the claims or parties and may be revised at any time before the

    entry of a judgment adjudicating all the claims and all the parties’ rights and liabilities.”) In any

    event, the parties submit that the circumstances otherwise justify the Court’s retention of

    jurisdiction over the case by vacating its entry of final judgment. The Court’s underlying

    memorandum opinion, ECF No. 74, would remain undisturbed, as would the rest of the

    Court’s order vacating and remanding the Secretary’s approval of Kentucky HEALTH, see

    ECF No. 73.

5. By striking subsection (4) of the Order and vacating its entry of final judgment, the Court

    would obviate the need for defendants to preserve their right to appeal the Court’s ruling on

    the Secretary’s initial approval of Kentucky HEALTH, which they would otherwise have to

    do by August 28, 2018. The Secretary of Health and Human Services is currently reconsidering
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       its decision on Kentucky HEALTH pursuant to the Court’s remand, and once the Secretary

       issues a new decision, the Court’s ruling on the initial approval will cease to be the basis for

       an appeal.

   6. In the event that the Secretary re-approves Kentucky HEALTH and plaintiffs wish to

       challenge the new approval, the Court’s retention of jurisdiction over the case will also allow

       plaintiffs to amend their Complaint to challenge the Secretary’s new decision instead of filing

       a new lawsuit. This Court could decide any new claims in the case, which would prevent

       another court in the district from having to examine these complex issues in the first instance,

       without the benefit of background knowledge.

   7. Therefore, the circumstances justify relief.

   8. The parties respectfully request that the Court rule on the instant motion before August 28,

       2018. That is the date by which the parties must file a notice of appeal of the Court’s July 29,

       2018, judgment to preserve their right to appeal. See Fed. R. App. P. 4(a)(1)(B).


Dated: August 10, 2018                               Respectfully submitted,

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